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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                Plaintiff,
     vs.                               Case No. 11-40044-01/16-RDR

DEMETRIO QUESADA; GERONIMO
ORTIZ; TRACY TUGWELL; ANTHONY
TUGWELL; MARIA GUADALUPE SOTO-
CABRERA; JOSE FLORES; FERNANDO
RUIZ-ALVAREZ; ERIK PLANCARTE-
MONTEJANO; ALBERTO VERASA-BARRON;
ARNULFO PRADO-CERVANTEZ;
SILVESTRE PALOMINOS-TINOCO;
ONELIA AQUINO-ROSALES; AGUSTIN
RAMIREZ-VILLA; ARMANDO
YANEZ-PLANCARTE; and VICTOR
ZAVALA-RAMOS,
               Defendants.


                                O R D E R

     This case is before the court upon the government’s motion to

declare this a complex case, vacate scheduling orders, establish a

new scheduling order and set a status conference.               Counsel for

defendant Agustin Ramirez-Villa has filed a pleading generally

objecting to the government’s motion and opposing any delays or

extensions of the Speedy Trial Act deadlines.

     Upon review, the court shall declare this a complex case. The

court shall vacate the scheduling orders issued before this order.

The court shall direct that pretrial motions for all defendants be

filed by September 16, 2011.       Responses to the pretrial motions

shall be filed by September 30, 2011.           A hearing date for the
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motions shall be set on October 14, 2011. Counsel are advised that

the court will carefully scrutinize any request to extend these

deadlines.

     The court shall declare that the extension of time granted in

this order shall be considered excludable time for the purposes of

the Speedy Trial Act, 18 U.S.C. §§ 3161(h)(1), (6) and (7). Delays

have occurred and will occur in order for some defendants to arrive

in this district.     This time is excludable under §§ 3161(h)(1)(E)

and (F).     Delays are certain to occur for a reasonable period of

time while co-defendants, whose time for trial in this case has not

expired, are preparing for trial.         This time is excludable under §

3161(h)(6).

     Finally, under § 3161(h)(7), the court may exclude a period of

delay from the time computed under the Act’s deadlines for starting

a trial if the court finds that the ends of justice served by

granting the continuance outweigh the best interest of the public

and the defendant in a speedy trial.          To make this determination,

the court must consider the following factors “among others:”                      1)

whether the failure to grant the continuance would likely make the

continuation    of   the   proceeding      impossible     or   result        in     a

miscarriage of justice; 2) whether the case is unusual, complex or

contains     novel   issues   which       require   additional      time          for

preparation; 3) whether there was a delay in filing the indictment

which justifies a continuance; and 4) whether the failure to grant


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a continuance would deny the defendant reasonable time to obtain

counsel, or deny either side continuity of counsel, or deny the

attorney for the government or defendant the reasonable time

necessary   for   effective   preparation,     taking    into   account       the

exercise of due diligence.

     This case involves fifteen defendants, eight of whom have

appeared before this court and four of whom have appeared before

other courts but not this court.        As mentioned in the government’s

motion, this case is the result of investigations involving more

than 50 other defendants. The investigations spanned approximately

19 months and involved multiple wiretap orders and other orders for

the collection of electronic information or communication.                  There

were approximately 30 search warrants executed in connection with

these investigations.    The government estimates that the discovery

to be disclosed in this case will exceed 50,000 pages and involve

hundreds of hours of audio recordings.              Given the number of

defendants and the breadth and bulk of the discovery, the court

believes this case qualifies as a complex case.

     As of this date the discovery has not been shared with all

defense counsel.    Yet, the current deadlines for filing pretrial

motions are in a matter of days for many defendants.             Under these

circumstances, the court believes that a failure to extend the time

for filing pretrial motions would result in a miscarriage of

justice and prevent counsel for defendants and for the government


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sufficient time to effectively prepare and to adequately represent

their clients given the exercise of due diligence.

     The court is unaware of any circumstances which would indicate

that the public’s safety will be threatened by the extension of

time in this case.       The court believes the parties’ and the

public’s interest in a fair, just and efficient resolution of the

charges is supported by the extension of time issued in this order.

     The court will not grant the government’s request for a status

conference at this time.

     If any party further objects to any ruling made in this order,

such objection should be filed by July 19, 2011.             The court will

conduct a hearing upon any objection filed on July 26, 2011.               If no

other objection is filed, the court will not conduct a hearing.

     In conclusion, the government’s motion is granted in part and

denied in part. The scheduling orders in this case are vacated and

replaced by the schedule set forth in this order.             If any party

further objects to this order, the objection should be filed

according to the deadlines set forth in this order. The extensions

of time granted in this order shall be considered excludable time

for the purposes of the Speedy Trial Act.

     IT IS SO ORDERED.

     Dated this 28th day of June, 2011 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge


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